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            EXHIBIT D
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IN THE LONDON COURT OF INTERNATIONAL ARBITRATION
BETWEEN:
                                  (1) HPK Management D.O.O.
                                    (2) HPK Engineering B.V.
                                                                                    Claimants
                                            -and-


                                    (1) The Republic of Serbia
                                 (2) Železara Smederevo D.O.O.


                                                                                Respondents
                           _______________________________
                              FIRST WITNESS STATEMENT OF
                                   PETER KAMARAS
                           _______________________________


1. My name is Peter Kamaras and my address is Kosice-Zapad Trieda SNP 441/13 Kosice
   Slovakia. I am and was during the period relevant to this dispute the managing director of
   the First Claimant, HPK Management d.o.o. (the “Service Provider”) and the owner of
   67.5% of the Second Claimant, HPK Engineering B.V. (the “Bidder”). The Service Provider
   is the Serbian company that was incorporated and wholly owned by the Bidder for the
   purposes of providing management services to the Second Respondent, Železara
   Smederevo d.o.o. (the “Company”) for its 100% owner, the First Respondent, the Republic
   of Serbia (“RoS”) pursuant to the Management and Consultancy Services Agreement
   entered into on 21 March 2015 (the “MSA”). During the period of the MSA, I served, along
   with John Goodish, as one of the Service Provider’s appointees to the Supervisory Board
   of the Company. The other three members of the Supervisory Board were appointed by
   RoS.

2. I am also the owner of Pikaro s.r.o. (“Pikaro”) which is the Slovakian company which
   became the Company’s primary supplier of raw materials and the primary purchaser of
   its end products. I was a director of Pikaro until 28 May 2015 and since 20 July 2016 but
   not during the intervening period. [CF 66].

3. I make this statement on behalf of the Service Provider and the Bidder in relation to these
   proceedings. Insofar as the matters stated in this witness statement are within my own

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   knowledge, they are true; insofar as they are not within my own knowledge, they are true
   to the best of my information and belief and the sources of that information are provided.

4. In this witness statement I refer to a number of documents submitted as exhibits to the
   written submissions of the Claimants and the Respondents. I refer to exhibits submitted
   by the Claimants with the prefix “[CF__]”. I refer to exhibits submitted by the Respondents
   with the prefix “[RF__]”.

Background

5. I received a master’s degree in chemistry from Charles University in Prague in 1990. I
   received a PhD in bioinorganic chemistry from Georgetown University in Washington D.C.
   in 1994 and did further post-doctoral studies at Johns Hopkins University until 1996.
   During my PhD studies and following my post-doctoral work, I worked in Kosice, Slovakia
   with various companies owned by my brother in the business of supplying raw materials
   to steel companies in Eastern Europe. We were one of the biggest exporters of raw
   materials from Ukraine in the 1990s. In 2000 US Steel bought the steel mill in Kosice and
   my brother’s company Valcovna Profilov, for which I was chairman of the board, became
   a main supplier of steel coils processing and logistics services to US Steel in Slovakia.
   Throughout this period I became very familiar with the steel production supply chain and
   the steel manufacturing business generally.

6. The main strategic raw materials for the production of steel are iron, coal, coke and
   ferroalloys. Iron ore comes in two forms, pellets or sinter fine ore. Sinter fines are cheaper
   and more efficient but require a functioning sinter plant on site while pellets are less
   efficient because they require more coke to be used in the production process. Pellets are
   usually more expensive than sinter ores because they are made of lower quality sinter ore
   which typically requires additional processes for concentration and pelletisation. Both
   require substantial amounts of energy. Coke is a form of processed coal that is the
   principal fuel used to heat the blast furnaces of the plant. Quality coke is very important
   because it also combines with the sinter inside the blast furnace to keep it from collapsing.
   Because of the importance of coke to the process, steel plants generally have a facility on
   site for processing coal into coke, however the Company did not because its coke facility
   at Lukavac (in what is now Bosnia Hercegovina) was separated from the Company when
   the former Yugoslavia broke up. Coke therefore had to be supplied externally. For
   historical and geographical reasons the Company continued to get most of its coke from
   GIKIL which now ran the Lukavac facility as the only nearby independent coke producer.
   GIKIL was financed by RAG, a large German company controlled by the German state.



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7. Most iron ores for steel plants in Eastern Europe come from Ukraine and Russia so the
   logistics are very complex and challenging. During my time working with my brother’s
   companies in the supply of raw materials I managed to form good relationships with all of
   the most well-known producers of iron ore. Ukrainian businessman Alexander Moroz, for
   example, was the first and longest serving iron ore executive I met in Ukraine in 1993. He
   was, and still is, in charge of sales of Poltava Pellets to Eastern Europe including to the
   Company. I was able to use these relationships effectively over the years in my raw
   materials supply business related to the Company.

8. In around April 2011, I formed my own business supplying raw materials for steel
   production while continuing to work in my brother’s businesses. I bought the company
   Pikaro s.r.o. from my cousin and started to turn it into a raw materials supply business for
   steel plants, mainly US Steel in Kosice. I maintained a profit sharing arrangement with my
   brother until May 2015 when we completely divided our business interests and I
   conducted my raw material supply business solely through Pikaro.

9. I came to know the Company in 2011 when one of my brother’s companies for which I
   worked at the time, Lamet s.r.o., became one of its raw material suppliers. At that time
   the Company was owned by US Steel. It was sold back to RoS in February 2012. I was
   responsible for supplying more than half of the sinter ore to the Company during its time
   in RoS ownership first with Lamet and then Pikaro when Pikaro took over as supplier in
   January 2015. In this role I became familiar with the Company and members of the
   government interested in the Company’s business. The Company was very poorly run
   under RoS ownership. Its top management left when the Company was sold back to RoS
   by US Steel. It was well known that the Company could not obtain good payment terms
   for raw materials because it had a very bad reputation for payment on time. Pikaro
   experienced problems with payment from the Company because of its poor cash flow
   position and poor management decisions. Alexander Moroz, for example, refused to even
   deal with the Company because of its payment record in 2014. He also refused to supply
   the Company with higher quality pellets until the arrangements were put in place with
   the Service Provider and Pikaro that I discuss below. In addition to a shortage of cash, the
   people responsible for raw material procurement at the Company simply did not have the
   knowledge, skills, training or experience to effectively manage the process for obtaining
   raw materials for the Company. Several lengthy stoppages of production made it
   unreliable in the market as a buyer of raw materials and a seller of finished products. The
   plant was also very poorly run from an operational and sales point of view.




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10. The management and financial performance of the Company was very poor and it was
   clear to me that RoS wanted to privatise the Company again as soon as a buyer could be
   found. I knew of a US steel company called Esmark that I thought might be interested in
   acquiring the plant. Esmark was run by Jim Bouchard who was an acquaintance of mine. I
   introduced Jim Bouchard to the Company and RoS and Esmark began to prepare a bid for
   the privatisation of the Company’s business. I assisted with the preparation of Esmark’s
   business plan for the Company to be submitted with its proposals and enlisted the help
   of a long time contact of mine, Pavol Vrchovinsky, who was a finance expert. I also acted
   as intermediary between Esmark and RoS in relation to the proposed deal. I had numerous
   discussions with the then RoS Prime Minister (now President), Alexander Vucic, in this
   regard. In January 2015, RoS put together a tender process with the intention of
   privatising the Company to Esmark. This process was run by KPMG.

11. In the end the Esmark deal fell through. Esmark was having financial difficulties in the US
   and RoS was concerned that its plan was to draw funds out of the Company in order to
   prop up its US business. The terms proposed by Esmark were also unacceptable to RoS.
   Esmark proposed to acquire an 80% interest in the Company for $1 leaving RoS with a
   minority 20% share but offered no role in management or oversight to RoS. The price was
   acceptable for RoS but the fact that Jim Bouchard wanted complete control over the
   business was unacceptable to RoS if it was to continue holding an interest.

12. Given the poor state of the Company’s business it was widely accepted within RoS that
   the Company could not continue under current management even if the privatisation to
   Esmark were to fall through. In early February 2015, when it looked like the Esmark deal
   may not proceed, I proposed to RoS a “plan B” that could be put in place in case the last
   ditch negotiations with Esmark failed. Plan B was that I would put together a team to
   manage the plant on an interim basis while RoS looked for a new suitor for privatisation.
   In mid-February I was called into a meeting with Prime Minister Vucic and was told that
   the Esmark deal had fallen through and that RoS was going to go for plan B.

13. The day after the meeting with the Prime Minister I flew to the Netherlands to establish
   the Bidder as the Company that would make the bid to provide management services
   pending a further attempt at privatisation. I also secured agreements from John Goodish,
   the former COO of US Steel Corporation and former vice president of US Steel Europe,
   Richard Roman, Yves Nassan and Lazar Fruchter to join my effort to manage the Company.
   This small group had decades of experience and leadership in all of the main aspects of
   such a project. They had experience with strategic raw materials, logistics, management,
   production and sales to Italy, France, Germany and Benelux countries as well as


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   experience with the Company through an existing contract. I also began assembling the
   team of managers who would manage the plant through contacts I had in the steel
   industry. I enlisted Pavol Vrchovinsky to help with the financial aspects of the business
   plan and other experts who eventually became the HPK Management team of approved
   consultants. Initially, the Bidder was owned 95% by me and 5% by Richard Roman who is
   my brother in law. I also offered shares to Yves Nassan and Lazar Fruchter. They ran a
   steel product marketing business out of Antwerp, Belgium called ICT. They were
   purchasing steel products through their purchasing companies first Global Steel, a BVI
   company, and then GLS Steel Distributors Ltd, a Cyprus company. They had been involved
   in the steel trading business for 35 years. Global Steel/GLS Steel Distributors Ltd had an
   existing contract with the Company for the marketing of steel end products in various
   countries since 2003. Messrs Nassan and Fruchter agreed around the end of February
   2015 to invest in a 20% share of the project to manage the Company pending privatisation
   but their investment was not actually completed until much later in September 2015
   because we were happy to proceed on trust until it could be formalised. John Goodish
   agreed to take 20% of the share of the project in return for participating in the oversight
   of the project with focus on management and production.

14. On 20 February 2015 the request for bids for management services was published by the
   Company on the basis of the decision of RoS as sole shareholder (the “Tender”). [CF 1].
   The Tender required interested bidders to provide to KPMG Belgrade an initial indicative
   business plan along with their credentials and a proposed compensation fee. The period
   for bids was extremely short with submissions due on 6 March 2015. Realistically, only
   bidders with prior experience with the Company were in a position to make a bid because
   of the short timetable. Access to the Company’s financial and operational data for
   interested bidders was provided on 23 February 2015. The process only provided for 12
   days in which to produce and submit a business plan on the basis of the Company’s
   financial position. There was therefore not enough time to conduct any meaningful due
   diligence into the accuracy of the financial figures provided by the Company.

15. The Bidder submitted its bid for the Tender on 6 March 2015 including a proposed
   business plan and compensation fee and a list and CVs of the managers we expected to
   provide to manage the Company. [CF 67-70]. There were a number of other bids including
   from Esmark. In the end, our bid was selected.

16. During the tender process, Bojan Bojkovic (at the time, the finance director of the
   Company) told me that RoS wanted bids for the management work to include an
   investment in the Company. In the course of discussions with him, I agreed that Pikaro, as


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   the Company’s principle supplier of raw materials, would make an investment of $10
   million in the Company by providing credit through extended payment terms for raw
   materials to the Company. The idea was that Pikaro would use its reputation and expertise
   in the procurement of raw materials which the Company lacked to obtain much better
   delivery and payment terms than the Company could obtain and use these to provide
   credit to the Company. This formed part of the Bidder’s bid for the Tender but it was
   always understood that this credit would be provided by Pikaro as the supplier of raw
   materials to the Company separate from the Service Provider. During the process, I was
   convinced to increase the amount of credit to $20 million. This eventually became the
   basis for the raw materials agreement that was referred to in the MSA and entered into
   between the Company and Pikaro and which I refer to below. It was of course well known
   that Pikaro was my company and the raw materials agreement with Pikaro was recognised
   in the MSA as a related party agreement.

17. I found out that the Bidder’s bid was accepted on 17 March 2015. Around this time, I
   spoke to Prime Minister Vucic and told him that Messrs Goodish, Roman, Nassan and
   Fruchter intended to invest in the project as well. Nassan and Fruchter were already
   known to him and the Company through a meeting he had with them in Tel Aviv organised
   by Israeli businessman Boris Krasny during his official visit to Israel on 29 November 2014.
   The Company was of course familiar with both of them because Global Steel had a
   marketing contract with the Company for a long time prior to the MSA tender. An
   interview aired on state television that evening during which the Prime Minister discussed
   the interim solution for the Company’s management gave the names of the people behind
   the Bidder including those of Messrs Nassan and Fruchter. [CF 58].

The MSA

18. The deadline for negotiating and signing a management services agreement was also very
   tight. We were informed that our bid was accepted on Tuesday 17 March and we were
   asked to ensure that the MSA was finalised by Thursday 19 March so that it could be
   approved by RoS with signing scheduled for the weekend. [CF 63]. The MSA was signed
   on 21 March 2015. [CF 3].

19. The purpose of the MSA was for RoS to acquire interim management services for the
   Company until it had been successfully privatised. The goal was privatisation. The
   management structure for the Company was set up to allow the Service Provider to
   manage day to day operations under the oversight of RoS through a joint-authority
   structure whereby decisions and transactions were subject to approval by the Service
   Provider and RoS representatives. This structure was incorporated into the memorandum

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   of association of the Company which was changed by RoS to make it consistent with the
   MSA. [CF 64]. The MSA was to last 3 years unless a successful privatisation was to occur
   earlier.

20. In order to provide an incentive to the Service Provider to help achieve a successful
   privatisation, the MSA contained a provision providing that a privatisation bonus would
   be payable in addition to the monthly management fees in the event of a privatisation.
   The bonus was to be calculated as 30% of the privatisation acquisition price but with a
   minimum of $10 million. I recall that we required a minimum bonus to be inserted
   because it was common in acquisitions of loss making state-owned businesses for the
   buyer to offer a nominal acquisition price but with promises to make longer term
   investments in the business for the benefit of the economy. Esmark had made such a bid
   for example. I do not recall any distinction being made between an asset sale and a share
   sale for the purposes of calculating the privatisation bonus. I believe everyone was aware
   that a privatisation could take any one of a number of forms including an asset or a share
   sale and I cannot think of any commercial reason why the bonus should depend on the
   form. I therefore would not have agreed to any proposal that a lower bonus should be
   paid in the event of an asset sale as opposed to a share sale. But the Respondents never
   suggested this.

21. The Respondents claim that it was agreed at the negotiation meeting for which there is a
   transcript [RF 17] that a privatisation bonus of 30% of the acquisition price would only be
   payable in the event of a share sale. This is wrong. I recall that the discussion around the
   30% versus $10 million minimum at pages 33 to 35 of the transcript was about the
   distinction between sale price and capital commitment, i.e. the price paid at closing as
   opposed to the commitment for future investments into the business. KPMG’s concern
   was that they did not want a bonus payable on both the price paid for the Company and
   the capital commitment. This can be seen from Boris Milosevic’s comment on page 33:
   “I’m talking about we cannot have 30% on the equity and 30% on the capital
   commitment”. We were concerned that the price paid for the Company would be low in
   favour of a substantial capital commitment and we would get nothing if the privatisation
   bonus did not apply to the capital commitment. This can be seen from the comment by
   Mark Harrison (the Service Provider’s solicitor) on page 33: “Someone offers 0, piles of
   money to invest, and we built a successful company in 3 years and we get nothing”. We
   were not talking about anything specific distinguishing a share sale from an asset sale at
   all as it was recognised that the privatisation could take a number of forms. This is
   reflected in the comment from Mladan Marjanovic (KPMG lawyer representing RoS and
   the Company) on the top of page 35: “Basically this relates only to privatisation

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   procedures. Any kind of model or method of privatisation will apply over…” The solution
   was to have 30% payable on the acquisition price (regardless of the form of the
   privatisation) but not on the capital commitment but also to have a minimum bonus of
   $10 million. This is what was included in the MSA at clause 3.2.9. I and others at the Service
   Provider were entirely reliant on the English version of the agreement which I understood
   was the official version and we never really concerned ourselves with the Serbian
   translation.

22. As to who would be responsible for paying the bonus, my recollection is that it could have
   been either RoS or the Company. Since the acquisition price could have been paid to either
   RoS or the Company depending on the form of any privatisation (which was unknown at
   the time), I believe it was left open for both the Company and RoS to have an obligation
   to pay it. It wouldn’t have made sense to leave the obligation only with the Company
   because the Company could have been acquired by the purchaser in a share sale. There
   was a discussion at the negotiation meeting about whether RoS should guarantee the
   obligations of the Company and it was left dependent on whether such a guarantee would
   amount to state aid. After obtaining further advice on the question, RoS decided not to
   provide a governmental guarantee for the Company’s payment obligations because
   issuing such a security instrument would be visible to the IMF and European Commission
   which would probably consider it illegal state aid. I did not understand that conversation
   to have been about the primary obligations of RoS.

23. The MSA also provided for a fixed management fee of Eur 340,000 per month and a
   variable fee dependent on EBITDA performance and reaching certain milestones. The
   fixed management fee did not cover the costs of the Service Provider and we knew that if
   this was the only compensation we would suffer large losses. The variable fee if achieved
   might have allowed us to make a modest profit but to make any significant gain on the
   MSA we needed to achieve a privatisation.

24. The MSA contained a provision in which the Service Provider agreed to maintain net
   working capital (“NWC”) above a certain level. I recall that the only purpose of this was to
   ensure that the business had sufficient liquidity to keep trading for a number of months if
   the Service Provider’s managers left, or things otherwise went wrong and RoS decided to
   kick us out and make other arrangements. The level was agreed at $80 million. The
   financial modelling that Pavol Vrchovinsky was doing at the time indicated to us that, as
   long as the starting figure was correct, $80 million would have been achievable by
   implementing the business plan under reasonable market assumptions and that we would
   have had a buffer.


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25. The MSA was scheduled to close on the effective date of the Closing and Takeover
   Protocol (“CTP”). This happened on 22 April 2015. The Closing and Takeover Protocol
   contained at schedule 5 a calculation of the NWC as of 31 March 2015. It turned out that
   this was overstated by about £24 million. Had this been understood at the time, I would
   not have agreed the NWC clause. I deal with this in more detail in paragraph 47 below.

26. The MSA also made reference to the raw materials supply arrangements between the
   Company and Pikaro which was recognised to be a related party to the Service Provider.
   The arrangements were the subject of separate contracts negotiated between the
   Company and Pikaro as I describe below. The frame contract for the supply of raw
   materials to the Company by Pikaro became effective on 22 April 2015 along with the
   MSA.

Management structure and practice of the Company

27. In the negotiation of the MSA, RoS wanted a right of participation in and oversight over
   the management of the Company. I encouraged this because I wanted to make sure that
   RoS was on board with everything we did in order to minimise the possibility of disputes
   arising. The mechanisms of the Supervisory Board, Officer for Government Relations
   (“OFGR”) and KPMG monitoring team were put in place for this purpose. John Goodish
   and I were on the Supervisory Board representing the Service Provider. The RoS
   representatives on the Supervisory Board were Bojan Bojkovic (who was the previous
   executive finance director of the Company), Boris Milosevic and Mr Aleksandar
   Andonovski. RoS appointed the previous executive director of the Company Ivan Milosevic
   and Mladjan Marjanovic (a lawyer from KPMG) to the role of OFGR. In practice, Ivan
   Milosevic acted as OFGR in most cases. The OFGR was one of the directors of the Company
   and was required to co-sign along with the Service Provider all contracts and other legal
   acts of the Company. The other director and CEO under the MSA and the memorandum
   of association was the Service Provider. The KPMG monitoring team was managed by
   KPMG partner Boris Milosevic and consisted of six previous senior managers of the
   Company and several KPMG employees. KPMG was paid a regular consulting fee under a
   consulting contract with the Company. Boris Bojkovic was paid for his services by KPMG
   out of the consulting fee. KPMG was reimbursed by the Company for all of its expenses
   relating to its work for the Company.

28. We began managing the Company following the closing of the MSA in late April 2015. We
   provided over 40 managers and support staff to act in all aspects of the Company’s
   management many of whom moved their families to Serbia to work for the Company. The



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   MSA required a minimum of 12 managers so we were always significantly over the
   required number.

29. We proposed and adopted a policy of having RoS representatives sign off not only on
   every contract (including the Raw Materials Agreement and other agreements with
   Pikaro) but also on all purchase orders and payments made by or on behalf of the
   Company. No payment could leave the Company’s bank account without two
   authorisations: one from the Service Provider and one from the KPMG monitoring team.
   The Supervisory Board met monthly and signed off on all major decisions related to the
   Company’s business and the privatisation including any changes to the personnel assigned
   to the Company by the Service Provider. A detailed pack of sales, operation, raw materials
   and financial information was provided to the Supervisory Board ahead of every board
   meeting. The Supervisory Board also voted on and approved all related party contracts
   (including those with Pikaro) which was not a requirement of the MSA but rather a feature
   of the Supervisory Board procedures which were designed and put in place by John
   Goodish.

30. We also kept the RoS representatives including the KPMG monitoring team updated daily
   on operational and financial aspects of the Company’s business. KPMG assigned monitors
   for every aspect of the business including production, acquisition of raw materials, legal,
   human resources, finance and sales and these monitors were involved in day to day
   operations. I encouraged RoS monitors to be involved and kept up to date on all of these
   aspects of the business. In this respect, we went well beyond what was required by the
   MSA so that RoS could never complain that it was not aware of what we were doing with
   any aspect of the Company. Ivan Milosevic required the approval of the KPMG monitoring
   team before he signed off on any documents as OFGR and was generally extremely careful
   not to do anything significant without the approval of KPMG monitors.

31. I have been asked to comment on certain personnel changes raised by the Respondents
   in these proceedings. Mr Uwe Heider was an approved Service Provider consultant acting
   as the Company’s sales director. He is an extremely experienced sales manager as can be
   seen from his C.V. [CF 33]. Mr Heider was effective in his role and knew where and how
   to place the products of the Company in the market. In May 2015, I decided to replace
   him with Mr Kelly, a highly experienced steel executive who had held various positions at
   US Steel including general director of US Steel Serbia d.o.o. which was the previous name
   of the Company before it was re-purchased by RoS. This was approved by the Supervisory
   Board. [CF 32]. I felt that in order to realise Mr Heider’s vision for the sales department,
   the sales director should be someone with greater knowledge of the local conditions in


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   the plant and great energy to take the department forward. An effective sales function
   depended not only on the knowledge of the market but also, perhaps even more so in the
   case of the Company, on the knowledge of the capabilities and limitations of production,
   logistics and personnel. Mr Kelly played a key role in re-establishing the Company as a
   reliable supplier of steel on the European market.

32. In September 2015, Mr Kelly became director of innovation and was replaced by Mr
   Kostadinovic when the sales role was split. [CF 34]. Mr Kostadinovic was responsible for
   taking forward the Company’s increased focus on sales growth in the domestic and former
   Yugoslav markets which was Mr Kostadinovic’s area of expertise. [CF 35]. More strategic
   aspects such as pricing strategy, finance and distribution were handled by the CEO,
   Stanislav Barica, and the CFO, Pavol Vrchovinsky.

33. The implication in the Respondents’ Statement of Defence at paragraph 23 that these
   changes somehow indicate that the Service Provider was not providing quality
   management is false. These were all appropriate changes of personnel reported to the
   Supervisory Board. Hesteel was also kept informed of personnel changes after January
   2016 at the request of RoS.

34. With respect to Mr Grela, he was an experienced steel executive who had held roles at US
   Steel including general manager of US Steel in Slovakia. He functioned well as the COO
   until his performance began to drop towards the end of 2015. The main reason for his
   dismissal was that he failed to communicate with executive management effectively in
   relation to an initiative to reduce the cost to the Company for hot metal for steel smelting.
   The other managers communicated by email and in person meetings but Mr Grela was
   reluctant to do so and I felt he should have been more active in relation to the initiative.
   I decided to replace him in February 2016 with Mr Kelly as soon as I realised that his work
   ethic had fallen below the standards that were needed in the challenging environment in
   which we were operating. The Supervisory Board was informed of these changes and no
   comments were received from RoS representatives. Mr Song, the leader of the Hesteel
   group in Serbia, approved of this decision as well. My email of 23 February 2016 was
   somewhat exaggerated because I was trying to provide comfort that the replacement of
   Mr Grela would not have any negative impact on the privatisation process. [RF 1]. No
   complaint was ever made about the staffing decisions implemented by the Service
   Provider.

Raw materials

35. Prior to the Tender, the Company had difficulty procuring raw materials because it had
   such a poor reputation in the market. The main reasons were lack of experience of raw

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   materials procurement managers, a bad history of fulfilment of contractual obligations
   including late payments and cancelling active orders without warning. The Company was
   therefore unable to secure beneficial payment and delivery terms or high quality
   materials. As a result it had to pre-pay for raw materials long before they were dispatched
   from the supplier which heavily restricted its cashflow. The Company was also unable to
   use its receivables for its end products to finance the procurement of raw materials
   because factoring of foreign receivables to realise cash before payment or other financing
   tools required approval of the Serbian government for each invoice to be financed
   separately. Credit insurance for foreign receivables was not really available in Serbia.
   Pikaro by contrast was able to use its position in the market to obtain good delivery and
   payment terms for raw materials and was able to utilise various trade finance instruments
   available to it as a reputable EU-based company to finance raw materials procurement.
   Pikaro was also willing to be more flexible with payment arrangements than the
   Company’s previous suppliers. Pikaro did not require any financial instrument or
   guarantee, not even a standard bill of exchange, to guarantee payment for the delivery of
   raw materials. Pikaro was, therefore, quite financially exposed to the Company. During
   previous management, it was standard to either pre-pay for raw materials or open a letter
   of credit or bank guarantee by the Company, backed by bills of exchange of the Company,
   a guarantee of the state-owned Serbian Export Credit and Insurance Agency as well as a
   government guarantee or cash deposit but this was never required by Pikaro.

36. There was only one Raw Materials Agreement as defined in the MSA which was a frame
   contract entered into between the Company and Pikaro on the date of closing of the MSA
   (the “Pikaro Raw Materials Agreement”). There were also individual sale and purchase
   contracts for shipments of particular raw materials (the “Single Contracts”) which were
   referred to in the Pikaro Raw Materials Agreement and subsequently entered into
   throughout the period of the MSA. No goods were actually bought or sold under the
   Pikaro Raw Materials Agreement – this was done under the Single Contracts. Each Single
   Contract was approved by the Supervisory Board and signed by the OFGR appointed by
   RoS after having been approved by the KPMG monitoring team. Every purchase order and
   payment for raw materials was approved in the SAP system by KPMG monitors.

37. The arrangement made between Pikaro and the Company for raw materials was that
   Pikaro would use its network of raw materials suppliers to supply raw materials to the
   Company and provide a cash buffer of $20 million by changing delivery and payment
   terms so payment would be delayed for an average of 60 days from the date the Company
   would otherwise have to pay for raw materials. This meant that the Company would pay
   Pikaro 60 days later than it would have been required to pay suppliers if it were to acquire

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   raw materials from those suppliers directly (as had been the position prior to Pikaro’s
   involvement). As mentioned, the Company would otherwise have been required to pre-
   pay for raw materials before dispatch or even before transportation was organised, which
   amounted to pre-payment of up to 60 days before dispatch from the producer. I discussed
   this with both Bojan Bojkovic during the tender process and Boris Milosevic once the
   Service Provider began to manage the business and they both agreed that this was the
   idea behind the 60-day extended payment condition. I do not recall the payment dates in
   the Single Contracts or the invoices ever being an issue during the entire period of the
   Pikaro Raw Materials Agreement until I saw it mentioned in the termination notice.

38. With regard to the credit, the Company was to have the benefit of $20 million worth of
   raw materials on the premises or on order before it paid for them which would allow it to
   use the cash that it would otherwise have had to allocate to raw materials for other
   purposes until payment was made. This continuing credit provided by Pikaro had the
   effect of enhancing the Company’s cash flow position by at least $20 million while the
   arrangements remained in place provided of course that the Company made at least $20
   million worth of orders for raw materials from Pikaro. The source and specifics of the $20
   million credit was not specified in the MSA or the Pikaro Raw Materials Agreement. The
   delivery and payment terms of Pikaro towards the Company at any given time made up
   the credit that was provided which was to be over $20 million provided that sufficient raw
   materials orders were made to give rise to that level of receivables. It was not a mandatory
   requirement that there should always be $20 million worth of raw materials unpaid. This
   would make no sense because it would mean that if the Company slowed its orders, Pikaro
   would be in breach of contract. Instead Pikaro agreed to allow the Company up to $20
   million credit on sales to the Company in the form of 60 day deferred payment condition.
   If the Company did not make enough purchases to sustain the $20 million credit there
   was no problem as long as Pikaro was willing to allow the credit to rise up to $20 million
   on whatever purchases the Company made from it. Pikaro was always willing to provide
   such credit.

39. Apart from the above, the supply of raw materials by Pikaro was done at arms-length,
   although as I mention below we were careful to act towards the bottom of the range of
   transfer pricing parameters advised by E&Y because the Service Provider and Pikaro were
   related parties. The raw materials arrangements were not exclusive and the Company was
   free to purchase raw materials from other suppliers.

40. On the end product side, once the MSA and the Pikaro Raw Materials Agreement were in
   place, we looked at financial security of the payment from customer to the Company and


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   also looked at options to see how the Company could use its receivables to finance its
   operations in order to improve the cash flow position further. Under prior management,
   the Company had large amounts of unpaid and uninsured receivables outstanding for long
   periods of time. The Company did not have any way to secure most of the receivables.
   This was very unusual and unacceptable for us because it was putting the Company at
   great risk of not receiving the payment for the final products. First, we researched the
   possibility of insuring and discounting receivables directly by the Company in Serbia or in
   EU. That proved to be difficult if not impossible for foreign receivables or larger volumes
   of domestic receivables. We considered incorporating a subsidiary of the Company in the
   EU in order to obtain the credit insurance necessary to discount the receivables. In the
   end it was determined that the best way was to redirect a part of the existing sales of final
   products of the Company to its customers through Pikaro. Pikaro would be able to utilize
   various trade finance instruments as another source for generating additional security and
   also liquidity from banks and insurance companies. The primary purpose of making the
   sales of the Company’s final products through Pikaro was to mitigate the credit risk by
   transferring the risk from the Company to the insurance companies and factoring banks.
   It means that if the final customer does not pay, the factoring bank and its insurance
   company absorb this loss rather than the Company. The Company, by using Pikaro in this
   way, was fully insured for financial non-performance of its end product customers. Most
   of the final clients were clients of the banks we used for factoring anyhow so their risk
   was very well assessed by the banks. Pikaro, sometimes, combined both security
   instruments, insurance and factoring, to ensure a higher credit limit for final customer.
   This increased sales volumes. The second benefit of factoring the receivables was the
   possibility to use these receivables as security with banks to enhance the ability of Pikaro
   to propose better delivery and payment terms to the Company for raw materials. To these
   ends, the Company and Pikaro entered into a frame contract for the sale of end products
   dated 27 May 2015. [CF 71].

41. The above was discussed with and approved by the KPMG monitoring team and the end
   product frame contract (and all the related contracts for the sale of end products to
   Pikaro) was signed by Ivan Milosevic as OFGR. Again, the arrangement was not exclusive
   and the Company was not prohibited from selling end products directly to its customers.
   In practice Pikaro resold about 20% of the Company’s end products at the outset of these
   arrangements rising to about 70% in Q2 2016. It was also easier for the Company to sell
   in this way because of the quality of service provided by Pikaro and the ease of conducting
   sales into the EU from an EU-based company. EU customers generally wanted someone
   else to import the goods and clear the customs in order to avoid possible anti-dumping

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   duties, extra cost, paperwork and the financing of VAT. In order to implement this
   arrangement, Pikaro built a finance team and sales team for end product sales as well as
   the back office capability to process end product sales to many countries including the
   acquisition of the required import licences and customs clearance.

42. Given the production and delivery times, the Company generally determined its raw
   materials requirements and made its orders for each quarter in the preceding quarter.
   The Company’s procurement team would solicit offers of terms for the required volumes
   of raw materials from a number of suppliers including Pikaro and consider them with the
   KPMG monitoring team. In the vast majority of cases, the terms being offered by Pikaro
   were the most attractive and so in practice Pikaro supplied almost all of the strategic raw
   materials to the Company. The KPMG monitoring team reviewed and approved the result
   of each tender for raw materials, approved each Purchase order, and approved from
   financial and legal perspective each of the Single Contracts for each of the raw material
   requirements which were then each separately approved by the Supervisory Board and
   only then signed by Ivan Milosevic as the OFGR. Examples are at [CF 51 to 54]. The terms
   of the supply proposed by Pikaro for the Single Contracts including the payment terms
   were always accepted by the monitoring KPMG team, representatives of the Government
   in the Supervisory board and, eventually, by the Company. The payment dates varied,
   however the Company almost always paid significantly late, and generally more than 60
   days after loading. The details are addressed in Mr Vrchovinsky’s evidence. The contracts,
   purchase orders and payments were all processed through the Company’s SAP electronic
   system. All payments required the appropriate authorisations from the OFGR or the
   KPMG monitoring team before the bank would execute them. No complaint was ever
   raised with regard to the payment terms in the Pikaro invoices as they always complied
   with the Single Contracts. In any event, the Company generally paid Pikaro for raw
   materials well after 60 days from the date it would have been required to pre-pay for raw
   materials supplied direct by other suppliers. If there had been some problem arising out
   of the invoice payment periods, it would have been easy to correct: if it had been alleged
   by the RoS, or KPMG, or the OFGR, of the Supervisory board, or anyone else relevant, that
   Pikaro’s practices were not consistent with the Pikaro Raw Materials Agreement in any
   way we could have made sure that the single contracts and invoice terms were fixed going
   forward – for example that they specified 60 days from loading. I would have been able
   to ensure that Pikaro agreed, and this was in substance what the Company was doing
   anyway in terms of the actual payment periods. But no objection was ever taken. The
   reality was that the Company, and the RoS representatives in the Company’s structure
   (including KPMG), were happy with the way payment was working towards Pikaro.

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43. With regard to pricing, the Service Provider commissioned a draft transfer pricing report
   from Ernst & Young to provide arms-length pricing ranges for transactions between Pikaro
   and the Company given that Pikaro was a related company to the Service Provider. [CF
   72] This was to ensure that the transactions between Pikaro and the Company for the sale
   and purchase of raw materials and end products were fair and that the applicable
   regulations and tax rules were complied with. In proposing price terms for the sale and
   purchase of raw materials and end products, Pikaro kept at the lower end of the net
   margin ranges recommended by Ernst & Young and was actually below the lower end for
   most of 2015. This pricing report was provided to all members of the Supervisory Board.

44. It took a few months for the Company to make sufficient orders from Pikaro to bring the
   amount of the credit over $20 million. From August 2015, the amount of the credit owing
   from the Company to Pikaro with respect to raw materials was over $20 million apart from
   a dip below in November (see Pavol Vrchovinsky’s witness statement at paragraph [38
   and [CF 168]. This was due to a reduction of orders for raw materials when the Company
   reduced production to one blast furnace because of the steel market price crisis discussed
   below.

45. By the end of the first quarter of 2016, Pikaro had effectively ceased to be paid cash by
   the Company for raw materials as by that time approximately 95% of the Company’s
   payment for raw materials was done by way of set off against the purchase of end
   products by Pikaro for on-sale (under the frame contract for on-sale) rather than cash
   payment by the Company. Those receivables became the only security and almost
   exclusive payment method for Pikaro in the first and second quarters of 2016. Such set
   off arrangements saved significant amount of the exchange rate losses and bank fees for
   international transfers as well.

46. The amounts owing from Pikaro to the Company for end products were a mechanism by
   which the Company secured and paid for raw materials delivery. They did not play any
   role in the calculation of the credit provided by Pikaro for the purposes of the Raw
   Materials Agreements. We put in place the raw materials arrangements before the end
   product arrangements and therefore did not have them in mind when concluding the
   Pikaro Raw Materials Agreement. The argument of the Respondents that the Company’s
   end product receivables are to be set off against amounts outstanding for raw materials
   for the purposes of calculating the credit provided by Pikaro under the Pikaro Raw
   Materials Agreement is wrong and makes no sense. The Company had the same
   receivables towards its final customers from the sales of end products at a certain level
   prior to Pikaro’s involvement but could not make use of those receivables. After Pikaro’s


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   involvement a significant part of the receivables were held towards Pikaro instead of
   various customers but the Company benefited through much more favourable terms for
   raw materials acquisition and far lower credit risk. This is of course why the KPMG
   monitoring team and RoS representatives on the Supervisory Board approved the
   arrangements and the transactions. However, these receivables played no role in
   calculating the raw materials credit which was only to do with raw materials supply.

The crisis in the global steel market

47. After we began managing the Company, we discovered that some of the accounting
   before we took over had not been done properly and the NWC as well as the cash flow
   position of the Company was not what we had thought it was. We were therefore already
   experiencing more difficulty than we anticipated with regard to managing the business.
   The assets of the business (and therefore the NWC) were overstated by about $24 million.
   This had a knock on effect with regard to the amount of cash that was available to us to
   use in order to make the plant more efficient and improve the financial performance of
   the Company. I understand that the chief financial officer, Pavol Vrchovinsky, is providing
   detailed evidence in this regard. Had we known of these problems at the time of agreeing
   to the MSA, our modelling would have revealed that we would probably not be able to
   maintain $80 million. Pavol Vrchovinsky explains this in his evidence. In those
   circumstances, we would not have agreed to keep NWC over $80 million as in clause
   3.1.5.1 of the MSA. It is difficult to say what we would have done instead. One possibility
   is that we might have agreed a much lower threshold although I doubt whether a lower
   threshold would have suited RoS because it was concerned about having liquidity to cover
   a minimum period of time if they decided to kick us out and so it would not really have fit
   with the purpose of the provision. If we had also known about the unreliability of the
   figures and the management and accounting practices when the Company was under RoS
   control that gave rise to it, we wouldn’t have agreed a rigid threshold at all because we
   wouldn’t have been able to trust the starting positon or the cooperation from the RoS
   side. We might for example have been willing to agree to use our best endeavours to
   maintain NWC over a certain level without accepting any liability if it fell below that level
   despite those endeavours as happened in this case.

48. In the fourth quarter of 2015, we were hit by a massive and unexpected drop in the global
   price of steel. This was a crisis for the global steel industry because it meant that the sale
   price for steel end products had fallen below production and transportation costs. I had
   never in my long career experienced such a steep fall in end product prices compared to
   costs. Normally, a steel company will review its business plan annually or quarterly in a


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   crisis. During the steel price collapse of 2015 we were reviewing the business plan on a
   daily basis. We tried everything we could within ordinary business measures to prop up
   the working capital by reducing costs and maximising the end product price. However, it
   was effectively impossible, even managing the Company optimally, to substantially
   increase the NWC through the ordinary management of the business without new sources
   of capital or other extraordinary measures.

49. In fact, the best way to manage the crisis from a financial point of view would have been
   to suspend production entirely until prices recovered because the Company was losing
   money on every ton of steel produced. However, this was not politically possible for two
   reasons. First, RoS had heavily publicised the re-opening of blast furnace 1 in October
   2015 just as the price crisis was starting and would not sanction closing it again so soon
   after opening. Second, the privatisation process with Hesteel was ongoing at that time
   and Hesteel made clear it wished to purchase a plant with two functioning furnaces. In
   my discussions with the Prime Minister’s Chief of Staff, Ivica Kojic, during this time it was
   made clear to me that RoS would not permit the suspension of production. I was told
   directly by the Prime Minister’s Chief of Staff to keep the furnaces running because it
   would be very damaging politically to stop them. Having to keep the blast furnaces going
   at RoS insistence had a huge negative impact on the business. This is set out in a December
   2015 email from John Goodish to Boris Milosevic in which he explains that the
   government’s forcing the Service Provider to run two furnaces put the long term
   operation in jeopardy. [CF 102]. He also made a similar comment at the Supervisory Board
   meeting in June 2016 which is recorded in the minutes at point 7.2: “[J Goodish] reminded
   that government insisted that two BFs run and it had catastrophic effects on the plant and
   market”. [CF 132]. We did ultimately have to suspend production in one of the blast
   furnaces on 28 October 2015 to try to mitigate some of the heavy losses the Company
   was sustaining. Blast Furnace No. 2 remained suspended until May 2016 although the
   decision to restart was made in March 2016. I made this decision which was a calculated
   gamble that we might get away with suspending one furnace but RoS made clear it never
   would have permitted a full suspension of production as we had recommended.

50. The crisis also had a severe impact on the financial viability of the project for the Service
   Provider. The fixed portion of the management fee did not cover our expenses with so
   many managers and their families living in Serbia. The milestone bonuses set out in the
   MSA which we expected to earn based on our business plan and projections were no
   longer possible because we could not reach break-even in the pricing environment we
   were facing. As a result, the Service Provider lost Eur 1.4 million in 2015 and Eur 830,000
   in 2016. The Bidder had a loss of Eur 348,000 in 2015 and a loss of Eur 68,000 in 2016. The

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   total loss for both Claimants is almost Eur 2.7 million and climbing as a result of these
   proceedings, and of course we have not yet been paid the privatisation bonus which is
   due.

51. At the end of October or early November I recall having a meeting with the senior
   members of the Service Provider team to discuss whether we should carry on in the face
   of the steel market crisis which was making it impossible to run the plant at a profit in
   order to hit the milestones that would entitle us to earn the variable portion of the
   management fee under the MSA. The Service Provider was losing money because it was
   not able to earn the variable portion of the management fee. We assumed that the
   milestones would not be achievable until 2016 at the earliest. My reasoning for staying
   was simple: first it was the feeling of responsibility for all those managers who quit their
   jobs and moved, often with families, to Belgrade. Second was the trust that Prime Minister
   Vucic had put in me to achieve a successful privatisation. I knew that he invested his
   political future into this project. He said that numerous times. Third was the privatisation
   bonus. Hesteel was considered to be almost a done deal as the discussions were quite
   advanced by then. This was the light at the end of the tunnel for us. It would guarantee
   the financial success of the deal and was the main reason why I personally vouched for
   the Company to suppliers in those uncertain times. We all decided to stay and face the
   storm and expected nothing but support from the KPMG monitoring team and RoS. This
   support began to erode in late February 2016 as I discuss further below.

52. Throughout this period, we maintained regular and consistent communication with the
   RoS working group for the privatisation as well as the Supervisory Board and KPMG with
   regard to the crisis and our efforts to mitigate its effects on the Company. As soon as the
   NWC dipped below $80 million, John Goodish sent an email to the Supervisory Board to
   alert them to this fact. [CF 98].The price collapse and its effect on the Company was a
   topic of discussion at every monthly Supervisory Board meeting and was also discussed
   with the Working Group including the Prime Minister’s Chief of Staff. The business plan
   was modified and updated to take account of the changing pricing environment and the
   changes were adopted and approved by the Supervisory Board beginning in September
   2015 and then periodically thereafter. Neither RoS nor KPMG required the Service
   Provider to address the NWC shortfall.

53. Given the importance of the plant in the Serbian economy, its performance and condition
   was a political issue. Prime Minister Vucic had taken a political gamble by restarting the
   plant against advice from experts and the decision of the previous government to shut it
   down. He made it part of his election campaigns during this period and further elections


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   were expected in the spring of 2016. The Company had accumulated very large debts
   (some $400 million) to state owned enterprises under previous management. For these
   reasons and because RoS was trying to privatise the Company, the steel crisis was a major
   concern for the government. On 23 December 2015 RoS through KPMG commissioned a
   report on behalf of the Company from World Steel Dynamics into whether the collapse in
   the steel price could have been anticipated earlier in 2015 and its impact on European
   steel plants. [CF 73] [CF 8]. This was done in order to protect RoS against negative publicity
   if necessary for its decision to retain the Service Provider to manage the business and
   continue with us through and after the crisis. Boris Milosevic and Bojan Bojkovic brought
   the idea to the Supervisory Board and John Goodish suggested Peter Marcus of World
   Steel Dynamics, a name very well known for accuracy and conservative views of the steel
   market. Boris Milosevic commissioned the report on behalf of the Company.

54. The report speaks for itself but I believe it vindicates our position because it makes clear
   that the steel crisis could not have been foreseen and made it impossible to run a
   profitable steel plant during this period. It was translated and sent to Minister of the
   Economy Sertic. I am not aware that RoS or the Company ever made any specific use of
   the report. I also note that in general experts were actually predicting prices to come back
   up at various points in 2015. This can be seen from the report of the Deloitte Research
   Centre, Deloitte CIS issued in August of this year entitled “Hot Rolled Coil Europe Prices
   Outlook: Long term non-acceptance of falling prices” at page 18. [CF 179].

The Privatisation

55. It was clear from the outset of our involvement that the goal of RoS was to privatise the
   Company. This is why the MSA included a privatisation bonus for the Service Provider that
   was payable upon a successful privatisation and calculated as a percentage of the price
   paid by the buyer. In these circumstances, we had every incentive to facilitate a successful
   privatisation with any potential suitors. In effect, we ultimately wound up performing two
   jobs: managing the Company day to day and supporting the sale of the business to Hesteel
   which had made inquiries as early as January 2015 before the MSA was signed. I should
   stress that we had no express obligation under the MSA to assist with the privatisation at
   all. This was a matter for RoS. Nevertheless, we proactively supported the privatisation,
   attended all the meetings with Hesteel to which we were invited and provided all the
   information to Hesteel that was requested.

56. In May 2015, just after we began managing the Company, the chairman of Hesteel visited
   the plant together with the governor of Hebei province and met with me and KPMG to
   discuss the business. They, along with various Chinese central government officials,

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   returned for several visits in June and July 2015 and appeared extremely serious about
   acquiring the business. The Service Provider was in charge of providing all technical
   support for those visits and had to set up a data room for Hesteel to conduct their due
   diligence. An official privatisation Working Group was formed by RoS which included me,
   Boris Milosevic, Bojan Bojkovic, Nenad Mijalovic State Secretary of the Ministry of Finance
   and Zeljko Sertic, the Minister of Economy. In September 2015 a delegation from RoS
   including KPMG travelled to China to meet with Hesteel executives and discuss the outline
   terms of the acquisition of the Company by Hesteel. No one from the Service Provider
   attended this visit but we provided our Chinese representative, Eric He for translating and
   for his expertise in the metallurgical industry in China. The deal originally proposed by
   Hesteel was an acquisition of the shares in the Company from RoS for nominal
   consideration on the basis that Hesteel would then bear the losses of the Company rather
   than RoS. This can be seen from point 2 of the Key Issues List sent by Hesteel to the Serbian
   delegation and copied to me after the visit. [CF 26]. RoS and KPMG tried during these
   meetings to convince Hesteel to change the structure to a sale of assets rather than shares
   so as to avoid state aid issues that might arise from any continuity of business after the
   transaction. [CF 97].

57. In October there were two further visits from Hesteel. In November 2015 there were a
   further series of meetings between Hesteel and RoS which included KPMG and me and
   Pavol Vrchovinsky from the Service Provider. The minutes from a meeting on 9 November
   at page 4 show that the deal by this time had evolved into as asset sale. [CF 60]. The RoS
   delegation wanted to ensure economic discontinuity between the Company and the
   Newco that would acquire the assets for state aid reasons. At the meeting Hesteel raised
   the issue of keeping key managers after taking over the plant in order to ensure a smooth
   transition. RoS therefore suggested that Hesteel come to an arrangement directly with
   the Service Provider for the provision of interim management services. This can be seen
   from page 10 of the minutes of the meetings. [CF 60].

58. In mid-December 2015, Hesteel invited a team of the Company’s managers provided by
   the Service Provider to visit China and discuss possible challenges of running the Company
   and further cooperation between HPK and Hesteel. I went with John Goodish and Pavol
   Vrchovinsky. The meeting was productive and the Chairman of Hesteel mentioned it in a
   letter to Minister Sertic later that month. [CF 61]. John and I reported on the meeting to
   the Supervisory Board on 18 December. [CF 62]. During this visit I confirmed that the
   Service Provider would be happy to provide post-closing services to Hesteel but no details
   were discussed or agreed. The letter from the Chairman of Hesteel demonstrates that we


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   were effectively promoting the privatisation in our interactions with Hesteel on behalf of
   the Company:

       “Since the execution of the Framework Agreement until now, the Parties have been
       maintaining a consistent and close contact, during which the representatives from
       HBIS had discussions with HPK delegation on 14 and 15 December 2015, which
       significantly deepened the understanding of each other as well as provided d us with
       a more comprehensive knowledge towards this Project”.

59. The privatisation agreement was signed on 18 April 2016. On 20 April 2016 we sent
   Hesteel a proposal for the services and managers we could offer once they took over the
   plant. [CF 74]. This deal was never signed. Although RoS suggested to Hesteel that it
   arrange post-closing interim management with the Service Provider at first, I am aware
   that both Bojan Bojkovic and Boris Milosevic also offered to take on the interim
   management in place of the Service Provider later in the process on more than five
   occasions but were turned down because Hesteel preferred that we provide the post-
   closing interim management. I was told this information by Chairman Wang which was
   confirmed by Mr Song very shortly before and repeated after a meeting with Hesteel.
   Bojan Bojkovic, Boris Milosevic and I at the Hyatt hotel on 22 April 2016.

60. We continued to do everything we could to support the privatisation process. On 6 May
   2016, the Chinese Ambassador to Serbia came to the plant and met with me. In public
   comments, the Ambassador mentioned my importance to the project which was reported
   in the media. [CF 11]. We continued to work with Hesteel on behalf of the Company to
   answer their questions, receive their input on the plant and to plan the handover process.
   In May 2016 another large delegation of the Service Provider’s managers was invited to
   China to tour its Tangshan Steel plant. We decided to take only 9 HPK managers but also
   3 non HPK managers and 3 heads of the workers unions of the Company. We were there
   for 5 days. We were introduced to the Chinese style of production and management. I had
   one brief discussion with chairman Wang about post-closing arrangements between HPK
   and Hesteel. We discussed only general terms of cooperation post-closing. He said that
   they will rely on us to support the Hesteel management after they take over the plant and
   that they trust us. In general, we had to do all the work related to running the plant itself
   as well as the planning and support for frequent visits of groups as large as 25 experts
   from Hesteel. We provided them with all technical support, including invitation letters,
   arranging and often paying for transportation, arranging accommodation, providing them
   with secretarial and translation services and even office space. We had to accompany
   Hesteel plant inspections and provide them with all data they requested. RoS had a very


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   limited budget for the negotiation and provided very little support for these visits. The
   Service Provider incurred substantial costs in its efforts to support the privatisation of over
   Eur 200,000 for consulting and interpretation services, travel expenses and promotional
   expenses for the various public events. We did this in the hopes of making the
   privatisation a success and receiving the privatisation bonus.

61. The only relationship we had with Hesteel was our support of the privatisation process in
   our capacities as the Company’s managers as described above and the discussions around
   the arrangements for post-closing services suggested by RoS. Apart from assistance with
   some procedures in the run up to closing such as the opening of bank accounts and
   negotiating utilities contracts of which RoS was fully aware, we never acted for Hesteel
   during the privatisation process. I note the Respondents claim that we appeared at a
   meeting on the side of Hesteel at a meeting on 28 June 2016, three days after the MSA
   was purportedly terminated. I believe this meeting was about the utilities contracts for
   the Hesteel entity that was due to take over the business in a few days. We were closely
   involved in the process for negotiating and putting those contracts in place as I describe
   below. We attended this meeting to help finalise those contracts so that the privatisation
   could close. We never received any payment from Hesteel for any of the assistance
   provided before or after the termination or the closing. Prior to the termination, I do not
   recall any complaint from RoS or KPMG that the Service Provider was too close to Hesteel
   or was in any way breaching any non-competition obligations or had a conflict of interest.

62. In the end, Hesteel did not formally engage us for the provision of post-completion
   management because by that time, the termination had occurred and we were at odds
   with RoS. I found out in discussions with Mr Song that Minister Sertic had told Hesteel not
   to communicate with me and that it would be illegal for them to continue to work with
   the Service Provider. Hesteel, however still requested our assistance after the closing
   because of the difficulties they encountered in running the plant and we assisted
   informally and for no consideration in the hope that Hesteel would engage us going
   forward. We were never paid for this work. We stopped having any involvement with the
   plant in late August 2016.

   Utility contracts

63. At the meeting between me, Bojan Bojkovic, Boris Milosevic and Hesteel on 22 April 2016
   at the Hyatt Hotel in Belgrade, we discussed the contracts that would be needed by the
   Hesteel Newco for utilities such as electricity, natural gas technical gasses, lime and
   railway transport once it had acquired the Company’s assets. Some of the relevant
   suppliers were owned by RoS. Boris Milosevic and Bojan Bojkovic offered to negotiate

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   contracts with the relevant suppliers for the supply of services to the Newco. Hesteel
   Chairman Wang declined their offer and instead asked me to do it. I agreed although to
   be clear there was no contractual obligation on the Service Provider to do this. [RF 4]. The
   offer from Boris Milosevic and Bojan Bojkovic was repeated and rejected again.

64. Within the next few days, the Service Provider undertook a market analysis and contacted
   all suppliers requesting their best offers for the supply of services to the Newco and
   offering to meet with them to explain the requirements if necessary. [CF 36]. Several of
   the utility suppliers owned by RoS delayed in responding, did not provide quotations or
   did not provide their best offers. It was typical of state-owned suppliers to respond to
   communications and progress negotiations very slowly. In order to push them along, we
   suggested that RoS get involved because these were RoS owned companies. Following
   receipt of the quotations, the Service Provider assisted with the negotiation of the
   contracts between Hesteel and the utility providers. On 17 June 2016 Richard Roman of
   the Service Provider sent an email to Hesteel reporting on the utility quotations that had
   been received. [CF 39].

65. In addition to delays on the part of the suppliers, there were delays on the part of Hesteel
   in relation to the establishment of the Newco with associated bank accounts, powers of
   attorney etc. and in relation to Hesteel’s negotiation strategy to secure the best terms
   from the suppliers. To establish the Newco Hesteel also had to get certain permissions
   from its Supervisory Board, the government of Hebei province and the Chinese central
   government. This took significant time. They also had to get formal permission from RoS
   to use the word Serbia in the name of the Newco, Hesteel Serbia. That took some time
   also. We progressed the negotiations of the utilities contracts as quickly and efficiently as
   we could. The utilities contracts were eventually sufficiently progressed and Hesteel
   proceeded with the closing of the privatisation.

   Waiver letters

66. As a condition to closing on the privatisation, Hesteel required waivers from the
   Company’s suppliers to be given in favour of the Newco. The list provided by Hesteel was
   in Appendix 6 to the privatisation agreement. [CF 41]. Pikaro was on the list but the Service
   Provider was not. In order to progress the privatisation, I agreed on behalf of the Service
   Provider and the Company to try to obtain the waiver letters although again there was no
   obligation on the Service Provider to do this. The draft waiver letter produced by KPMG
   stated that the supplier waived any claim against the Newco for receivables in relation to
   the Company. This effectively meant that any suppliers with receivables from the
   Company on the date of the privatisation would only be able to look to the Company

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   which at that time would have sold all of its assets and become a shell with over $400
   million in debts. It was therefore difficult to persuade the suppliers to provide the waiver
   letters as they were (quite understandably) requiring payment of their outstanding
   receivables before signing. This was further complicated because as the privatisation was
   nearing closing it was very important to preserve cash in order to avoid jeopardising daily
   operations. I tried to explain this to Boris Milosevic when he was chasing me for the waiver
   letters. [RF 6]. In the case of Hercules, Bojan Bojkovic had a good relationship with them
   so I suggested that he obtain that one. [RF 6]. In the run up to the closing of the
   privatisation, we continued to do all we could to press the suppliers to provide the waiver
   letters and eventually the waiver letters were delivered to the satisfaction of Hesteel and
   the privatisation closed. All private companies not owned by RoS (apart from the Service
   Provider and Pikaro) signed the waiver letters only after all outstanding receivables were
   paid.

67. With regard to the waiver letters from the Service Provider and Pikaro, they took legal
   advice on the suggested letter from Allen & Overy. Allen & Overy revised the letter and it
   was approved by Hesteel. [CF 75]. I also provided the final signed waiver letter in hard
   copy to Mr Song and Ms Grace at a meeting on 1 July 2016. The Service Provider was not
   on the list of the companies in Schedule 6 of the privatisation agreement who were
   required to provide a waiver letter. [CF 41]. I do not know to this day why or at whose
   instigation the Service Provider was asked to provide one when there were other
   companies not required to provide letters who held bigger debts than the Service Provider
   at the time. I am not aware of any other company not on the list but required to provide
   a waiver letter. Pikaro and the Service Provider did not give any condition for signing the
   Waiver Letter other than that that their lawyers approved the wording. Unlike many other
   suppliers, Pikaro was not paid for all of its outstanding receivables before providing a
   waiver letter. To this day, the Service Provider has not been paid its fixed management
   fees for May and June 2016 which are claimed in these proceedings.

68. We did everything we could to obtain the waiver letters for the privatisation. I did not
   make any attempt to delay the provision of the waiver letters in order to put pressure on
   RoS or the Company at the last minute. As mentioned elsewhere in this statement, I had
   every incentive to satisfy Hesteel to avoid any question as to our entitlement to the
   privatisation bonus.

   Providing information to Hesteel and RoS

69. Throughout the privatisation process, Hesteel required information to be provided about
   the Company to support their due diligence. The Service Provider provided all the

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   information requested by Hesteel. The Service Provider’s management team led by CEO
   Stanislav Barica convened regular privatisation coordination meetings of the Company.
   [CF 44]. Our head of legal, Natasa Tijanic devoted most of her time to supporting the
   privatisation. She personally helped to resolve a number of the conditions that needed to
   be satisfied prior to closing. We received no complaints from Hesteel regarding a lack of
   requested information or the failure to support the process in any way.

70. When he was appointed by RoS to monitor the activities and operations of the Company,
   Economy Minister Sertic wrote to the Service Provider requesting a list of information to
   be provided to the government monitoring team as well as the KPMG monitoring team
   and the Supervisory Board. The KPMG monitoring team and the Supervisory Board already
   had the information requested because they were so closely involved in the business.
   Nevertheless, the Service Provider’s team began to gather the information to be
   presented in the way requested by the Minister. We then attended a meeting with the
   Minister on 30 May 2016 at which the information requests were clarified. The Service
   Provider provided all the information requested by the Minister. From that point, we also
   sent all reports that top management received to Minister Sertic and selected members
   of the Government until we were asked to stop because they did not have sufficient email
   capacity.

   Transagent bills of exchange

71. Issuing bills of exchange is a common method of securing the credit provided by a supplier
   in Serbia. Prior to the involvement of the Service Provider, the Company issued many bills
   of exchange to suppliers in order to maximise its credit with suppliers and secure more
   favourable terms. We only proposed the use of bills of exchange in exceptional
   circumstances where it considered that the benefits outweighed the risks. In all cases, the
   issuance of bills of exchange was approved by the OFGR because the OFGR’s signature
   was required on the bill itself and the request for registration of the bill at the central
   registry of RoS. Ivan Milosevic signed as OFGR only if he received “green light” signatures
   from the responsible KPMG monitoring team, in the case of bills of exchange probably
   from the financial and legal departments. In conjunction with the preparation of a bill of
   exchange, the Company would also negotiate with the supplier the terms of a power of
   attorney specifying the conditions for the exercise of the bill of exchange.

72. Transagent was a supplier of shipping and logistics services. In January 2016 Mr Zvonko
   Poscic from Transagent called me and offered the Company extended payment terms for
   their services if they receive bills of exchange from the Company. I referred him to our
   CFO, Pavol Vrchovinsky. Transagent was willing to provide the Company with extended

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   payment terms and they gave the Company lower prices with regard to shipping services
   but required bills of exchange as security for the additional credit extended to the
   Company. [RF 7]. In early 2016, the Company was experiencing cash flow difficulties and
   numerous suppliers had overdue receivables which they could have enforced and used to
   freeze the Company’s bank account if not paid. It was determined that the benefits
   offered by Transagent would help the Company’s cash flow position and, given the already
   sizable outstanding receivables, the risk that the Company’s creditors would call in their
   debts and try to freeze the Company’s accounts would not be significantly increased by
   issuing the bills to Transagent. It was therefore decided that the bills should be issued.
   The OFGR signature which was never given without KPMG approval shows that the
   decision was supported by RoS through the KPMG monitoring team.

73. It took some time to prepare the language for the power of attorney because the supplier
   was based in Croatia rather than Serbia. The bills of exchange were signed and registered
   at the beginning of June 2016. The list of bills of exchange issued to Transagent as well as
   the request to register them with the central registry were signed by Ivan Milosevic, the
   OFGR appointed by RoS. [CF 45]. The signature furthest to the right next to the seal is that
   of Ivan Milosevic. The other signatures are those of Mr Vrchovinsky (further left) and Mr
   Barica signing on behalf of the Service Provider. The bills themselves were also signed by
   the OFGR. [CF 150]]. These bills of exchange were therefore duly authorised by the
   Company and I believe it was wrong for the Company to have informed Transagent after
   the purported termination of the MSA that the bills were unauthorised. [RF 8].

   Supply of coke

74. In general, procuring blast furnace coke for the Company was a complex process because
   most steel mills produce their own coke but as mentioned above the Company did not
   operate its own coking plant. There are few semi-independent coke producers in the
   region from which the Company could acquire coke and those mostly required long term
   supply contracts in order to manage their own supply logistics. Due to its chemical
   properties, coke cannot be stored for long periods and must be used relatively fresh from
   production which complicates the logistics and makes it cost effective to source as close
   to the plant as possible. For historical reasons, the Company obtained most of its coke
   from GIKIL, now an independent producer separate from the Company in Lukavac, Bosnia
   Hercegovina which was financed by German conglomerate RAG.

75. During the privatisation process, it was agreed at the request of Hesteel that the Company
   should operate two blast furnaces because Hesteel wanted to ensure that both were fully
   functional. Blast Furnace 2 was operating at the time. Blast furnace 1 was re-started in

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   October 2015 and this was highly publicised by RoS. Production was suspended at blast
   furnace 2 on 28 October 2015 because the dramatic drop in steel prices meant all
   production was loss making but it was not politically possible or acceptable to Hesteel to
   fully suspend production at both furnaces. In May 2016 after the steel price had recovered
   blast furnace 2 was restarted. This had the effect of dramatically increasing the Company’s
   requirements for blast furnace coke. We anticipated the need for additional coke and
   began contracting well in advance for sufficient supplies to operate the two blast
   furnaces.

76. However, beginning in April 2016, GIKIL began having production and delivery problems
   which also happened to coincide with the Company’s increased requirements for coke.
   GIKIL was experiencing strikes, problems acquiring coal for the production of coke and
   logistical problems. The Service Provider took all reasonable steps to maintain the supply
   of coke. We consistently pressed RAG and GIKIL for delivery and made every effort to
   maximise deliveries of coke from GIKIL. [CF 47]. I even went to speak personally to the
   German Ambassador to Serbia to explain to him the seriousness of the situation on 23
   June 2016. He called the Ministry of Economy in Germany that very evening and I received
   a very prompt call from sales person of RAG in the morning on Friday 24 June. We sent a
   person from the Strategic Raw material department of the Company (not a Service
   Provider manager) to Lukavac to monitor the situation and he reported regularly on the
   situation. We kept the KPMG monitoring team and the Supervisory Board informed in
   relation to the difficulties with GIKIL. We also took steps to obtain supplies of coke from
   other suppliers in Slovakia, Hungary and the Czech Republic. [CF 48] [RF 16]. We used our
   contacts at US Steel in Kosice, Slovakia, to convince it to supply the Company with 10,000
   tonnes of coke even though it was a competitor of the Company and rejected our initial
   request. The Respondents in paragraph 48 of the Statement of Defence say that I
   “blatantly misrepresented” the reality in my email to Minister Sertic on 27 May 2016. [RF
   16]. This is wrong. For the reasons above, GIKIL was having difficulties with coke
   production and delivery. I was merely trying to explain that for this reason it made sense
   to obtain supplies from other producers.

77. We managed to maintain the supply of coke in order to keep the plant running. Although
   coke supplies were low, there was enough to maintain production. This can be seen from
   the Strategic Raw Materials layout report for 24 June 2016 maintained by the Company’s
   raw materials purchasing team. [CF 76]. There was a suspension of production at blast
   furnace no. 1 for less than 48 hours from 22 to 24 June but this was necessary because
   one of the casters in the blast furnace needed maintenance. This also allowed coke
   supplies to build a bit during this period but production was not suspended for lack of

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   coke. The suspension was planned in advance and the Supervisory Board was kept
   informed. I understand Stanislav Barica will provide more detailed evidence on this point.
   In addition to using other sources, we took steps to speed up delivery so that there was
   sufficient coke to keep the plant running. For example, on 23 June 2016, we amended a
   shipment of 3900 tonnes of coke from Hungary that was due to be shipped by barge to
   be shipped by train so it would arrive earlier and ensure there was enough coke to run
   the plant until the anticipated handover to Hesteel on 30 June. [CF 77]. We also received
   confirmation on 24 June of six trains of coke to be dispatched to the Company by GIKIL in
   the coming days. [CF 99].

78. The delivery of raw materials including the additional coke from Hungary referred to
   above was severely disrupted by the purported termination of the MSA and Pikaro Raw
   Materials Agreement on Saturday 25 June 2016 which I describe in more detail below in
   the section of this witness statement dealing with the termination.

79. We never suspended the delivery of coke in order to frustrate the privatisation process or
   to otherwise put pressure on the Company or RoS. It was always our intention to support
   the privatisation to closing because this would be to our benefit and consistent with our
   duty as managers of the Company. We also had every incentive to maximise the deliveries
   of raw materials to the Company because the adjustments to the price to be paid by
   Hesteel in the privatisation (and therefore the ultimate amount of the privatisation bonus)
   were dependent at least in part on the inventories of raw materials held by the Company.
   I see from the invoice produced by the Respondents in this case, that there was a
   substantial adjustment in the purchase price paid by Hesteel upwards of about Eur 8
   million based on the Company’s inventories on 30 June 2016. [CF 78].

GLS Steel Distributers Ltd.

80. As mentioned above, when forming the Bidder I offered shares to Yves Nassan and Lazar
   Fruchter, who were the businessmen behind ICT. They agreed to invest in a 20% share of
   the project to manage the Company pending privatisation but this did not happen until
   September 2015. ICT had a marketing services contract through Global Steel with the
   Company that dated back to when it was owned by US Steel. In mid-2015 the Company
   and ICT decided that their contract should be replaced with a new contract using a
   European entity on the side of Global Steel BVI. The reason for this was very simple. Serbia
   was adopting a new tax law which would place a 30% withholding tax on the payment to
   Global Steel as it was an offshore company. So the Company would have to pay 30%
   withholding tax on top of the payment of the commission. In order to avoid this tax, an
   EU entity was established to be the contracting party on the side of Global Steel. During

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   negotiation we also improved the financial terms for the Company as we eliminated the
   higher commission that would have been payable in case of low volumes. Only the lower
   commission was left in the contract.

81. In late May 2015, following the inception of the MSA, Messrs Nassan and Fruchter had a
   meeting with the Prime Minister organised by Boris Krasny which I also attended along
   with the Prime Minister’s Chief of Staff Ivica Kojic. The meeting was about the Company,
   its management and the roles of Messrs Nassan and Fruchter. We told the Prime Minister
   that they had an interest in the Service Provider but would not be involved in its day to
   day activities. They would be supplying the Company with marketing services through a
   separate contract. I reported on this meeting to Bojan Bojkovic and Boris Milosevic
   afterwards. In July 2015 the Company and GLS Steel Distributers Ltd entered into a
   contract for the provision of steel marketing services. [CF 57]. This was one of a number
   of similar contracts the Company had with steel marketing companies. The contract was
   signed by the OFGR on behalf of RoS but only after it was signed off by appropriate
   members of the KPMG monitoring team. When entering into any contracts with any
   related entities we always provided full disclosure and got sign off from the Supervisory
   Board which is above and beyond the requirements of the MSA. We did not go through
   this formal process in the case of the GLS Steel Distributers Ltd marketing contract for a
   number of reasons. First, all the supervisory board members and Ivan Milosevic (not to
   mention the Prime Minister and his Chief of Staff) were well aware that Messrs Nassan
   and Fruchter were behind GLS Steel Distributers Ltd and intended to make an investment
   in the Bidder for the reasons stated above so it wasn’t necessary to provide any further
   disclosure to the Supervisory Board. Just by way of example, I briefed both Bojan Bojkovic
   and Boris Milosevic about Nassan and Fruchter meeting with the Prime Minister and I had
   introduced them as part-owners of the Service Provider when they visited the plant on
   numerous occasions. Second, as explained above, the companies controlled by Messrs
   Nassan and Fruchter had already had a long standing version of essentially the same
   contract in place, but with different entity in place and it was not due to expire, so this
   was not some fresh transaction. Third, at that time Nassan and Fruchter had not yet
   acquired any shares in the Bidder. Finally, the interest they were going to acquire was a
   minority interest and therefore did not implicate the control provisions of the MSA.

82. Nevertheless, had we been given notice under the MSA that there was some kind of
   breach in this regard to be corrected within 120 days or any other reasonable time limit
   we could easily have provided the supervisory board with the necessary information.
   Since the OFGR had already signed off, nothing further would have been needed towards
   him. If for any reason the Supervisory Board did not wish to continue with GLS Steel

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   Distributers Ltd, we would have replaced it as the provider of marketing services for the
   relevant countries. When I was asked by Minister Sertic for the names of the investors in
   the Bidder in an email on 27 May 2016, I provided the information requested. At the
   Supervisory Board meeting on 13 June 2016, the RoS side was still refusing to approve the
   payment to GLS Distributers Ltd until RoS had decided what to do. [CF 132]. I heard
   nothing further about the matter until the termination notice of 25 June 2016 which
   mentioned related party agreements (but not GLS Steel Distributers Ltd specifically). [CF
   14].

Insurance

83. The Service Provider obtaining a liability insurance policy was a condition for closing of
   the MSA. We obtained a policy covering the period 20 April 2015 to 20 April 2016 through
   Price Forbes in London. [CF 118]]. The insurance was originally placed with Endurance [CF
   20] but after Richard Roman reminded Price Forbes that the insurance must be in full
   compliance with Serbian law, the insurance was placed with Wiener Stadticshe A.D.O.
   Belgrade, a licenced Serbian insurer. [CF 79]. Wiener Stadtische is the fourth largest
   insurer in Serbia as can be seen from the Q1 2017 report of the Serbian National Bank. [CF
   80]. The policy was approved by Boris Milosevic on behalf of RoS and accepted in clause
   2.4.6 of the CTP. [CF 59] [CF 4]. Although there was no obligation in the MSA to renew the
   policy, the policy was renewed on substantially the same terms for the period 20 April
   2016 to 20 April 2017. [CF 81]. Again the insurer was Wiener Stadticshe A.D.O. Belgrade.
   [CF 82].

84. There was never any complaint from RoS or KPMG regarding the insurance. There has
   never been any claim on the policies. The first mention of any issue with the liability policy
   was in the termination notice where one of the grounds was expiration of the insurance
   policy. As mentioned above the policy did not expire, it was renewed. I do not recall the
   renewal ever being provided to the Company as this was not required. If anyone had ever
   asked we would have sent them the renewal. In any event, had we ever been any notice
   of any problem with the policy we would have taken steps to fix it. As it was, there was
   no problem.

The Termination

85. In January 2016 Bojan Bojkovic approached me with an idea. He first claimed based on no
   information that Pikaro had too many receivables from end product customers and was
   not using them properly. He proposed that Pikaro could transfer $10 million worth of
   Company receivables to a German company called BMG Trading GMBH so that it could
   factor the receivables in a similar way to Pikaro using its relationship with ICBC, a Chinese

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   bank with an office in Frankfurt. He introduced me to the owner of the BMG, who
   introduced himself as Mr Matić but did not present a business card. He claimed that BMG
   had a long term relationship with ICBC and were familiar with factoring. Bojan Bojkovic
   also said that they could buy about 10 thousand tons of the Company’s end products and
   sell them in Germany. It was worth about 5 million USD. I suspected that this was a scam
   that would just ultimately be for the benefit of Bojan Bojkovic. The terms being offered
   seemed extortionate as the interest rate for factoring being offered was 40% instead of
   the 5% Pikaro was getting. I was afraid that the real plan was not to pay for the receivables
   or material and keep all the money. I asked Pavol Vrchovinsky, chief commercial officer
   Mr Kostadinović and Richard Roman to travel to Frankfurt, meet with BMG Trading and
   ICBC bank and investigate further. They found that ICBC in Frankfurt did not have a record
   of a significant relationship with BMG and that BMG had never done any factoring or
   trading of steel products. We also checked the companies registers in Germany and
   Switzerland which revealed that the company was an SPV created six months earlier
   owned by a Swiss company which was in turn managed by Mr Matic who was Serbian.
   This all looked very suspicious and I sent an excerpt of the register to Boris Milosevic by
   email on 1 February raising my concerns. [CF 83]. Boris responded that he did not
   introduce BMG or ICBC and eventually suggested that BMG be invited to the next
   supervisory board meeting with ICBC to present their proposals. I agreed but BMG never
   attended. We proposed that we set up a sales contract as a trial but they were unable to
   proceed. I did not hear further about it.

86. It was shortly after this incident that the relationship between the Service Provider and
   KPMG began to decline rapidly. From the documents disclosed by the Respondents in this
   case, I see that later in February (21 February) KPMG sent an analysis to the Prime Minister
   regarding the Service Provider’s compliance with the MSA. [CF 84]. The analysis argues
   incorrectly that the credit provided by Pikaro was below the $20 million threshold
   throughout the period (on the incorrect basis that end product receivables should be
   taken into account in calculating the credit among others), that the NWC was below $80
   million since October 2015 (which by then was well known to everyone from the
   Supervisory Board meetings, meetings with the Prime Minister’s office and the continued
   involvement of the KPMG monitoring team in all aspects of the business); it also says that
   the Service Provider had complied with the personnel obligations in the MSA. The report
   included a table showing what KPMG represented to be the debtor-creditor relationship
   between the Company and Pikaro including raw materials purchases and sales of end
   products. The report concluded on the basis of the last line in the table entitled “total
   direct and indirect position” that Pikaro had not been providing the $20 million credit.

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   What the report failed to mention was that the version of the table first produced by
   KPMG had labelled that line “total direct and indirect financing” but Boris Milosevic had
   accepted in an email exchange with Pavol Vrchovinsky that it should be changed to “total
   direct and indirect position” because it was not a reflection of financing provided by
   Pikaro. [CF 55]. When Pavol Vrchovinsky showed me this email chain I believed it to be a
   clear acceptance on the part of KPMG that the net position including the end products
   was not a reflection of the financing provided by Pikaro which was to be calculated only
   by reference to raw materials. Pavol Vrchovinsky has also done a calculation showing what
   would happen if Pikaro were taken out of the picture and all receivables were returned to
   the Company. The answer is that the Company would have immediately lost $28 to $48
   million in cash. I offered numerous times to Boris Milosevic for the Company to stop
   acquiring raw materials and selling end products through Pikaro [CF 100] and for KPMG
   to officially audit Pikaro so they could see for themselves the benefit that the Company
   was gaining from the arrangements with Pikaro [CF 101]. These offers were never
   accepted.

87. The KPMG report sent to the Prime Minister concluded that even though the breaches
   supposedly identified by KPMG would provide grounds for termination of the MSA, this
   was inadvisable because removal of the Service Provider might disrupt the privatisation
   procedure. I was never shown or given a copy of the report. At that time, the focus in our
   relations with the RoS and the Company was entirely on keeping the Company going to
   complete the privatisation to Hesteel. Although the privatisation agreement was not
   signed until April, by January all the key terms had been agreed in principle. At a meeting
   between the Working Group and Hesteel at KPMG on 25 January it was agreed that the
   privatisation agreement would be signed on 18 April in order to be fully utilized in the
   election campaign of the Prime Minister’s coalition before the Serbian parliamentary
   elections which were to be held on 24 April 2016 and the deal would close by the end of
   June. The discussions around the performance of the Company were all about how we
   could keep the Company alive and the privatisation on track in the meantime.

88. In mid-February 2016 I resigned from the Working Group. The reason for this was that the
   Working Group began to discuss secret annexes to the privatisation agreement as a
   solution to some of the issues in the negotiations, for example, secret compensation from
   RoS to Hesteel if the business were to be hit in the future with large anti-dumping duties
   or requirements to reimburse state-aid. Nenad Mijajlovic, the state secretary of the
   Ministry of Finance stated in the Working Group meeting that these secret solutions were
   illegal in Serbia. I was also asked to be sworn to state secrecy for Working Group meetings
   which I was keen to avoid because this was an additional serious legal obligation that I

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   could not control. I wanted to avoid any legal problems in Serbia because I knew that this
   could be used against me in the event that things went wrong so I resigned from the
   Working Group.

89. In March 2016 RoS began providing further financing to the Company by way of state-
   backed loans. Between March and June RoS provided around €33 million of additional
   financing in this way.

90. On 1 April 2016 RoS and the Company served their 90-day notice of termination under
   clause 8.4 of the MSA which meant that the MSA would terminate at the end of June when
   the privatisation was expected to close. [CF 9]. At this time we were all working to try to
   keep the Company running in order to complete the Privatisation. The termination under
   clause 8.4 meant we were still entitled to the privatisation bonus under clause 8.5. We
   therefore had every incentive to continue to support the privatisation and we were
   encouraged by RoS and KPMG to do so.

91. I had several meetings during this period with the Working Group, KPMG and Minister
   Sertic to discuss the response of RoS to the steel market crisis including a meeting on
   Saturday, 2 April 2016. The focus of the discussions was always only protection in the face
   of the steel market crisis for the Prime Minister’s government from public criticism and
   from reprisals by a new government if the government of the Prime Minister were to lose
   power. In the past, when governments changed in Serbia privatisations undertaken by
   previous governments were scrutinised and government officials were prosecuted for the
   decisions they had taken, for example, Mr Kolesar, the Chief of Staff to former Prime
   Minister Dindic was prosecuted by the current government for bribery in relation to the
   original privatisation of the Company to US Steel. The government was concerned that it
   would be criticised for its response to the steel market crisis and its decision not to remove
   the Service Provider. If it became necessary, the government proposed to protect itself in
   two ways: first by using the World Steel Dynamics report to show that the crisis could not
   have been foreseen or controlled, second by the amendment of the MSA to demonstrate
   that RoS had taken steps to hold the Service Provider accountable for the Company’s
   performance during the crisis. Specific alleged breaches of the MSA were not discussed at
   these meetings but the proposal was that the MSA should be amended to reduce the
   privatisation bonus because we had breached the MSA in some way and we had not been
   able to reach the milestones projected in the business plan. My response was always to
   deny that there had been any breaches of the MSA and that it was sufficient for the
   business plan to be changed to reflect the new market conditions and approved by the




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    Supervisory Board. This was done a number of times during the period and always
    approved by RoS through its members on the Supervisory Board.

92. With regard to NWC, I was never told that we needed to raise the NWC because we were
    in breach of the MSA. It was taken as a given that the NWC had fallen below $80 million
    because of the steel market crisis since November 2015. The emphasis from the RoS side
    was to continue as we been doing in order to complete the privatisation and protect the
    government through the World Steel Dynamics report and by agreeing an amendment to
    the MSA.

93. Following the 2 April meeting, Boris Milosevic sent me a draft “Annex” to the MSA which
    contained the Respondents’ proposals to change the MSA in relation to the raw materials
    credit and the privatisation bonus. [CF 85]. The Annex proposed to note between the
    parties that the NWC provision of the MSA and the Raw Materials Agreement had been
    breached. Tellingly, the MSA Annex proposed to modify the privatisation bonus to tie it
    to additional credit to be provided by Pikaro by 15 May. The Annex also proposed to state
    that the credit of $20 million was to be calculated by reference to “net liability” from
    which the receivables of the Company from Pikaro and advances paid for purchase of raw
    materials were to be deducted.1 As set out above, this was not the original understanding
    and appeared nowhere in the Pikaro Raw Materials Agreement that had been agreed.

94. I took this as a clear attempt to hold the privatisation bonus hostage in the hopes of
    getting Pikaro to provide additional finance to the Company. In any event, none of this
    was originally agreed. I also did not believe we were in breach of the MSA. With regard to
    the credit provided by Pikaro, I believed it was kept above $20 million as long as there
    were enough orders. The most important proof to me, other than that I trusted Pavol
    Vrchovinsky’s calculations, is the fact that RoS never accepted my repeated offers to allow
    KPMG to audit Pikaro and did not want Pikaro to transfer its end customer receivables
    back to the Company. With regard to NWC, I felt that we had been exonerated by the
    World Steel Dynamics report. We managed the plant very well in extremely difficult
    circumstances and made huge efforts to support the privatisation for the benefit of RoS.
    The fact that they had issued a notice of termination on 1 April based on a successful
    privatisation and which meant that they accepted we should get the contractual
    privatisation bonus suggested to me that they were aware that this was a try on.



1
 The “MSA Annex” also purported to note that the breach of the Pikaro Raw Materials Agreement had been
noted for the first time at the Supervisory Board meeting on 20 July 2015 and in all subsequent meetings of
the Supervisory Board. This is false as can be seen from the minutes of the 20 July 2015 Supervisory Board
meeting [CF 167].

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95. In the next few days I discussed the position with the other beneficial owners of the
   Service Provider numerous times who all agreed that we were not in breach of the MSA
   and that we were entitled to the bonus. I set out my position in an email to Boris Milosevic
   on 13 April 2016. [CF 86].

96. The privatisation agreement was signed by RoS on behalf of the Company on 18 April
   2016. [CF 10]. This was done at a public ceremony followed by fireworks which I attended
   along with Prime Minister Vucic and Hesteel Chairman Yu Yong. Since the privatisation
   had been agreed and RoS had given notice of termination based on the termination, I
   believed that we were entitled to the privatisation bonus. We issued a pro forma invoice
   for 30% of the Eur 46 million purchase price. [RF 2]. I continued to make clear to Boris
   Milosevic that we would not change our position or accept that we had breached the MSA.
   I asked the Service Provider’s senior managers to consider the accomplishments of the
   Service Provider since taking over the management of the Company in late April 2015 and
   write them up in a summary so that RoS/KPMG could understand how we had helped the
   Company. This summary was sent to the Supervisory Board by Stanislav Barica on 6 May
   2016. [CF 87].

97. Throughout this period the focus continued to be on making a success of the privatisation.
   The privatisation agreement required at clause 6.1 that the Company undertook to
   manage its business in the ordinary and usual course and in the same manner as carried
   on prior to the date of the agreement as well as not to institute any unusual methods of
   production, service, sale, lease, management, accounting, or operation. Hesteel wanted
   us to carry on with the business as we had done and any deviation would have required
   their consent. We therefore continued to work hard to manage the Company as best we
   could in order to keep the privatisation on track. No one from the government mentioned
   the need to correct the NWC position as this wasn’t on anyone’s mind. The whole point
   of the NWC provision of the MSA was to allow RoS to kick us out and make other
   arrangements if it felt we weren’t managing the business well enough to achieve a
   privatisation. Instead of kicking us out and making other arrangements, RoS continued to
   push the privatisation process forward and caused the Company to sign the privatisation
   agreement which required the business to continue to be managed in the same way.

98. If RoS or the Company had served a notice on us requiring us to correct the NWC position
   in 120 days or face termination of the MSA, we would have tried to do so because our
   goal was to perform the MSA so that we could claim the privatisation bonus. This is a
   purely hypothetical question because the message coming through from RoS was the
   opposite: continue to manage the business as before and cooperate with Hetsteel in order


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   to complete the privatisation. Given the market conditions it would not have been feasible
   to enhance the profitability of the Company to bring in the substantial amount of cash
   every month that would have been required to raise NWC to $80 million. However, there
   are other things that could have been done. For example, RoS as the main shareholder
   could have increased its share capital which would have had a direct impact on NWC. The
   Company could have pledged its assets for a long term loan. The Company could have
   tried to secure an advanced payment on the privatisation from Hesteel. I understand from
   Pavol Vrchovinsky that another way to increase the NWC would have been for Pikaro to
   extend the payment terms for raw materials out over a year so that they became long
   term payables and therefore not part of the NWC calculation. This would have brought
   NWC over $80 million. Pikaro would have agreed to do this if the end product payment
   terms were also extended by the Company to compensate. I understand that Pavol
   Vrchovinsky is providing additional evidence on these possibilities. Clearly, some of these
   measures would have required the consent of RoS or Hesteel but such consent might have
   been given or at least if it wasn’t it would have been because RoS chose to allow NWC to
   fall in favour of other priorities. As it was, we did not feel the need to press any of these
   options because RoS never gave notice requiring any correction of NWC or even
   complained about the net working capital position per se and then signed the privatisation
   agreement prohibiting any change in the way we were managing the Company.

99. During this period from April 2016, there was continuing tension between me and KPMG
   over their attempts to change the MSA. Although I was angry and occasionally expressed
   my frustrations in emails, I knew that the only way we were going to be able to claim the
   privatisation bonus and perhaps provide interim management services to Hesteel after
   closing was to continue to support the Company and get the privatisation over the line.
   All the Service Provider personnel continued to work as hard as they could to manage the
   Company effectively and maintain the working capital at as high a level as possible given
   the constraints of the business. Pikaro continued to make every effort to meet the
   Company’s requirements for raw materials as it always had despite the difficulties in
   procurement mentioned above. I am not aware of anyone at the Service Provider or
   Pikaro attempting to exert pressure on the Company by restricting raw materials supplies
   or otherwise. It was like there were two worlds between the privatisation signing and
   closing. One professional where we ran the plant day to day and cooperated very well
   with RoS representatives and KPMG monitors to have contracts approved and payments
   made with little tension. There was another world of different interests, politics and
   attacks coming from RoS and KPMG towards myself. My theory is that the hostile world
   resulted from personal tensions and the political climate in which I understand both

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   Minister Sertic and Boris Milosevic were angling to participate in the new government
   which was being formed following the parliamentary elections. It had nothing to do with
   our performance nor the result, which was a miracle privatisation and an extension of the
   life of a dying plant.

100.    My suspicions that RoS and KPMG were simply trying to deprive us of the bonus were
   heightened in early May 2016. Boris Milosevic stopped payment of an approved invoice
   from GLS Steel Distributers Ltd which was long overdue by withholding the KPMG
   monitoring team co-signature for the payment. He said that the payment would not be
   approved until the MSA Annex had been agreed. [CF 88]. I replied that I did not
   understand the connection. Boris Milosevic then raised the issue of Messrs Nassan and
   Fruchter having interests in both GLS and the Service Provider. As mentioned above
   everyone including the Prime Minster was aware that they had these interests and in any
   event, their interests in the Service Provider did not give them any control in relation to
   the Service Provider. I knew Boris Milosevic was aware of this and so I concluded that his
   enquiries were merely an attempt to divide the Service Provider’s shareholders and have
   Messrs Nassan and Fruchter pressure me to agree to sign annex to MSA. I refused to
   engage with his enquiries about GLS because I believed they were not genuine. When I
   was asked by Minister Sertic for the names of the investors in the Bidder in an email on
   27 May 2016, I provided the information requested. I still do not know why Boris Milosevic
   was raising questions about Global Steel although I can speculate that he might have
   thought I had some interest in Global Steel. I have never had any interest in ICT, Global
   Steel or any other entity owned directly or indirectly by Messrs Nassan and/or Fruchter
   apart from the Bidder The email exchange on this issue also demonstrates that RoS had
   complete knowledge and control of all aspects of the business of the Company including
   payments from the Company’s account to be exercised when it suited them.

101.    During these exchanges I began to appreciate that elements of the RoS and the RoS
   elements of the Company’s structure, or at least Boris Milosevic, seemed to have
   developed a problem with me personally. The email from Boris Milosevic of 9 May to
   Minister Sertic where he appears to target me personally and make light of having a
   meeting to terminate the arrangements on my birthday confirm this. [CF 88]. I do not
   know exactly how or why this personal issue arose but my speculation is that someone
   might have been upset that I stood in the way of the BMG scheme or that Bojan Bojkovic
   and/or Boris Milosevic wanted to push me out so that they could gain further
   responsibility and therefore fees for managing the Company from RoS or Hesteel. In any
   event, it was clear that Boris Milosevic was actively trying to undermine our position
   throughout the period from April to June. This is confirmed by emails disclosed by the

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   Respondents demonstrating that behind the scenes Mr Milosevic was orchestrating the
   correspondence of Minister Sertic and promoting the termination. [CF 89]. Boris Milosevic
   often took direction from Bojan Bojkovic so I suspected that Bojan Bojkovic’s interests
   were playing a role behind the scenes as well. With the criticisms focusing on me, the
   Service Provider’s managers were free to get on with their excellent work. I tried to ensure
   that they were not distracted by these exchanges as this was the best way to get the
   closing of the privatisation done.

102.    On 7 June 2016 we received a draft settlement agreement from KPMG. [CF 27]. The
   draft agreement confirmed my suspicion that what RoS and KPMG really wanted was a
   reduction in the privatisation bonus and to separate me and the Service Provider from the
   Company so that they could continue to make money from the business once Hesteel took
   over. The draft agreement proposed that the privatisation bonus be reduced to an
   unspecified fixed amount. It proposed that the amount of the debt from Pikaro to the
   Company be agreed and that the Service Provider guarantee the payment of the debt
   before the closing of the Privatisation. Finally, it proposed that the Service Provider, the
   Bidder and a very widely defined set of related parties vacate the premises on the day of
   closing and cease operating in the steel sector in the European Economic Area for 2 years.
   The related parties would have included not only me but members of my family who
   worked in the steel sector including my brother and others. It would have put me and
   some members of my family out of business. The draft also relegated the Service Provider
   to the role of consultant bound to follow the orders of RoS and KPMG with regard to
   managing the business until closing. This all confirmed to me that this was really about
   removing any competition for the continuation of management services for the business
   of the Company and maintaining the positions and revenue for Bojan Bojkovic and Boris
   Milosevic as much as it was to try to change the bargain with respect to the privatisation
   bonus. I rejected this approach to settlement in a strongly worded email to Minister Sertic
   the next day. [CF 28]. No agreement was ever reached and we continued to manage the
   Company as before as these discussions wore on.

103.    By Friday 24 June, the privatisation had been all but completed. There only remained
   a few points for completion such as the waiver letters from the Company’s creditors and
   the finalisation of the utilities contracts which were both far advanced. We had completed
   a number of public events designed to promote the privatisation including the signing
   event in April 2016, the visit of the Chinese Ambassador on 6 May 2016 and a tour of the
   plant by Chinese President Xi Jinping on a visit to Serbia on 19 June 2016. The President’s
   tour was organised on the Company’s side by the Service Provider in accordance with RoS
   protocols. [CF 90]. The Service Provider incurred substantial expense on its own account

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   for these events including marketing, public relations and promotional expenses. We also
   continued to support the privatisation throughout June 2016. For example, we performed
   the necessary stock counts and inventories for the closing and helped arrange the
   necessary independent audits [CF 91], we provided breakdowns of labour costs as
   requested by Hesteel [CF 92], and we continued to assist in the negotiation of the utilities
   contracts for Hesteel [CF 93]. We provided Hesteel with all the information that it
   requested and were in regular contact with them about the running of the plant. As set
   out in paragraph 77 above, we had ensured that there was sufficient coke in the pipeline
   to allow the plant to run until the scheduled handover. The utilities contracts for Hesteel
   were far advanced. Hesteel was proceeding with closing which was scheduled for the
   following Thursday. There had been no complaints from RoS that we were intentionally
   obstructing the privatisation process.

104.    The Respondents claim at paragraph 99 of the Statement of Defence that termination
   was required because the Service Provider would have refused to co-sign the privatisation
   closing documents on behalf of the Company which was required under the MSA and the
   articles of association because it was an asset sale. This is non-sense. The Service Provider
   had every incentive to complete the privatisation to reduce any challenge to its right to
   the privatisation bonus and, as described below, was working throughout June to make it
   happen even though it did not have a legal obligation to do so. It would have been foolish
   for the Service Provider to put the privatisation bonus in jeopardy by refusing to sign. We
   all knew that Hesteel was the only game in town and that there were no other options for
   privatisation. I would have signed the documents personally on behalf of the Service
   Provider. RoS could also have asked for a power of attorney to allow it to sign the closing
   documents on behalf of the Company as it had done when the privatisation agreement
   itself was signed in April. This did not happen.

105.    Pavol Vrchovinsky, the Company’s finance director provided by the Service Provider,
   was due to get married in Slovakia on Saturday 25 June. Several of the Service Provider’s
   senior managers including myself were friends of Pavol Vrchovinsky and were due to be
   in Slovakia attending the wedding or taking their families back to Slovakia for the summer.
   We left only the minimum number of managers required to run the plant over the
   weekend. We were scheduled to return on Sunday evening. This was known to RoS and
   the KPMG monitoring team.

106.    On that Saturday morning with no prior warning RoS security personnel and the
   Minister of the Economy, came to the plant with various members of the news media and
   announced the termination of the Company’s relationship with the Service Provider and


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   Pikaro. Ivan Milosevic, Bojan Bojkovic, Boris Milosevic and others from KPMG also
   attended. The news was announced in various media outlets shortly thereafter and
   received substantial publicity. Our mobile telephones registered to the Company, email
   and other IT connections were disconnected leaving us without any information as to
   what was happening. We suddenly could not reach the managers we left in the plant to
   check the status of the plant. The Service Provider’s personnel who had been left behind
   as essential to continued operations and even some Company personnel who were
   considered loyal to Service Provider managers were not allowed to enter the plant or were
   detained. I later found out that Ms Jelica Rajkovic (the executive assistant to the CEO and
   the CFO) was detained, her computer and phone was confiscated and she was locked in a
   room together with drivers working for the Service Provider. They were all interrogated
   by RoS personnel who did not identify themselves later that day. Mr Kostadinovic, the
   Company’s Chief Commercial Officer provided by the Service Provider was taken to the
   Ministry of Economy and put under government pressure to cooperate. Wesley Moyer, a
   Service Provider production manager, was driven to the plant, interrogated, threatened
   and forced to sign a new employment contract with the Company and terminate his
   contract with the Service Provider. He told me after the fact that he felt he had no choice
   and could not reach us because our phones were not working.

107.    At 12:54 pm on that day I received the termination notice for the MSA by email from
   Ivan Milosevic [CF 94]. At 2:54 pm Pikaro received the termination notice for the Pikaro
   Raw Materials Agreement by email from Ivan Milosevic. This was later forwarded to me
   because it was sent to the wrong email address. [CF 95].

108.    Apart from Service Provider personnel immediately necessary for production who
   were put under government pressure to cooperate with the Respondents, employees of
   the Service Provider and Pikaro were forbidden from entering the plant. The Company
   also stopped the delivery of end products to Pikaro. The delivery of the end products was
   not possible without employees of Pikaro in the plant and connected to the plant’s
   electronic system.

109.    These actions created severe problems for the plant. The reason is that the plant runs
   on a constant stream of raw materials supply and end product shipment and the actions
   of Saturday morning disrupted these processes. The sudden and immediate termination
   of the MSA and Pikaro arrangements plus the complete lack of communication with us
   caused confusion and uncertainty. Suppliers and customers were uncertain how their
   business would be impacted by the terminations as they had previously relied on the
   Service Provider’s personnel and Pikaro. Some suspended delivery to the Company for


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   fear that they would not be paid. The transportation company DSMS, for example, had a
   sizable debt for transportation of the raw materials and end products to and from the
   Company. The Company had no credibility in the market without the Service Provider and
   Pikaro and this impulsive move made it worse. It was perfectly understandable that the
   suppliers would balk because their reliance on Pikaro was damaged by the news of the
   termination and the Company was due to be privatised in the next week leaving an empty
   shell with large debts so there was no expectation that they would be paid.

110.    I found out in a discussion with RAG that the Company was in contact over the
   weekend with managers of GIKIL appointed by the government of Bosnia Hercegovina
   and a meeting had been scheduled to arrange direct deliveries of coke from GiKIL without
   involving Pikaro. I later learned that the direct deliveries did not work. The Company also
   tried to arrange for direct sales of end products to end customers but this was impossible
   because Pikaro held the relevant import licences for the sale of the Company’s end
   products to EU customers and the Company lacked the expertise necessary to produce
   the required documentation for customs clearance into the EU. The newly introduced EU
   import licences held by Pikaro could not be reissued in the name of the Company. I found
   out from Mr Nassan that the Company had contacted him for advice on import licences
   on Sunday 26 June.

111.    Due to the disruption in supply of raw materials caused by the Respondents’ lack of
   planning and the complete exclusion of the Service Provider from information and the
   management of the Company, it was forced to shut one of the blast furnaces before the
   weekend was out. On Monday morning 27 June before I was to travel back to Serbia, I
   received an email from Ivan Milosevic asking me to designate someone at Pikaro to
   support the document process for selling end products to customers. I replied that Pikaro
   would support the Company with raw materials and end product sales to try to avoid
   further damage. [CF 16]. I was worried that the problems with the plant might jeopardise
   the privatisation and I wanted to do everything we could to make sure the privatisation
   closed so the Respondents couldn’t challenge our right to the bonus. I therefore
   instructed Pikaro staff to do what they could to support the production of the Company.
   I personally spoke to Vadim Vdovichenko, the CEO of DSMS which was a supplier of iron
   ore pellets to the Company and guaranteed payment in order to restart delivery that had
   been suspended because of DSMS’s concern that it would not be paid. The Service
   Provider’s managers remained locked out of the Company.

112.    I was invited by Prime Minister Vucic to attend an “explanation and solution” meeting
   in Belgrade with him and the extended Working Group. However, when I tried to re-enter


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   Serbia later that day at the Hungarian border I was stopped, searched and temporarily
   denied entry by Serbian security forces. I exchanged text messages with Suzana Vasiljevic,
   the media advisor to the Prime Minister. [CF 96]. I was permitted to proceed only after
   the border police spoke directly with the Prime Minister. Ms Vasiljevic indicated that the
   stop and search order was placed on my passport by the BIA (RoS civilian security
   information agency) on the instructions of Minister Sertic. This corresponded with what I
   was told by the customs police officer when he apologized and returned my documents.
   The security system in my home in Belgrade which was installed after two burglaries
   earlier in the year was disconnected on Saturday evening. It went back on line just after
   the closing of the privatisation agreement. The “explanation and solution” meeting with
   the Prime Minister turned out to be an unproductive negotiation over the level of the
   privatisation bonus.

113.    Despite this ordeal, I continued to instruct Pikaro staff to restart deliveries of raw
   materials and end products. It was difficult to get things up and running again quickly
   because of the need to re-plan the logistics for production and shipment. Even though
   Pikaro began to re-establish supplier deliveries, disruption in delivery of raw materials
   necessarily continued for a period after the chaotic weekend. GIKIL, for example did not
   reply to our emails on Monday at all. Despite the fact that we had prepaid trains to be
   delivered. Pikaro was taking an enormous risk during this period because it had made
   advanced orders for raw materials for the Company in the amount of about $78 million
   for the third quarter 2016. Its contracts with the Company made in relation to these
   orders contained a clause (required by KPMG) that they would terminate automatically as
   soon as the closing of the privatisation was notified. Pikaro also did not yet have a contract
   with Hesteel for the use of those raw materials if closing occurred as expected on 30 June.
   It was therefore on the hook for these orders with no assurance that they would be paid
   for by the Company or Hesteel following closing.

114.    Despite this disruption which was mitigated by the support of Pikaro, Hesteel
   proceeded to close the privatisation on 30 June 2016. This demonstrates that the
   privatisation was all but achieved before the purported termination on 25 June 2016.
   Nevertheless, RoS and the Company have refused to pay the privatisation bonus to the
   Service Provider. They have also refused to pay the fixed portion of the management fee
   for May and June 2016.

115.    In the circumstances, I believe that the attempted termination of the MSA by RoS and
   the Company was in bad faith and designed not to help the Company but rather to deprive
   the Service Provider of the privatisation bonus and perhaps pave the way for RoS-friendly


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   people to continue to profit from the business after it was privatised. RoS was aware of,
   and apparently content with, all of the things that the Respondents now complain about.
   They considered termination in February 2016 but deliberately decided to wait until we
   had essentially concluded the privatisation before kicking us out of the Company we had
   worked so hard to save over the previous 15 months.

I believe that the facts stated in this witness statement are true.




Peter Kamaras

16 August 2017

Kosice, Slovakia




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